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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                         )
KENT EUBANK, JERRY DAVIS,                )
RICKY FALASCHETTI, RITA CICNELLI,)
ROBERT JOSEPHBERG, JEFFREY               )
ACTON, KENNETH HECHTMAN,                 )
JAMES BEIMAN, AMY CHASIN, and            ) No. 06 C 4481
EDWARD RUHNKE,                           )
individually and on behalf of all others ) Hon. Sharon Johnson Coleman
similarly situated,                      )
                      Plaintiffs,        )
v.                                       )
                                         )
PELLA CORP. and PELLA WINDOWS            )
AND DOORS, INC.,                         )
                      Defendants.        )
____________________________________)___________________________________

                     NOTICE OF JOINDER IN MOTION TO
                  STRIKE ALL FILINGS BY OBJECTOR SCHULZ

       In light of the January 17, 2019 Order issued by the Northern District of Illinois

requiring attorney Bandas to withdraw all of his or his clients’ filings in Illinois courts,

Ron Pickering hereby joins in Class Counsel’s demand that all of the filings in this case

on behalf of Michael Schulz be stricken, including the fee petition filed by his co-counsel

Ted Frank (Document 683). 1 Judge Pallmeyer’s Order prohibits Mr. Bandas or any of

his clients from petitioning for or receiving fees in any case in which Mr. Bandas has

represented an objector. This is such a case.



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  While this filing would otherwise be untimely because it was not raised by the objection
deadline, the recent nature of the District of Illinois’ order renders it timely. Indeed, Mr.
Bandas and Mr. Frank were under no duty to withdraw all of Michael Schulz’s filings at
the time of the objection deadline. Clearly, the circumstances of this unusual order
issuing after the objection deadline justify an extension of the filing deadline for class
members to seek to enforce the terms of Judge Pallmeyer’s recent order in the Edelson
case.
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                                    CONCLUSION

       For the foregoing reasons, this Court should strike Michael Schulz’s filings in this

case and award no attorney’s fees to Mr. Bandas’ proxy Ted Frank.

                                             Respectfully submitted,
                                             Ron Pickering,
                                             By his attorney,


                                             /s/ John J Pentz
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                                             jjpentz3@gmail.com


                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed via the
ECF filing system of the USDC for the ND IL on February 6, 2019, and that as a result
electronic notice of the filing was served upon all attorneys of record.


                                                     /s/ John J Pentz




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